                                                                                  Case 5:09-cv-00514-JW Document 40 Filed 07/16/09 Page 1 of 3



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                                                                          6                                 IN THE UNITED STATES DISTRICT COURT
                                                                          7                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          8                                           SAN JOSE DIVISION
                                                                          9    Maxim Integrated Products, Inc.,                    NO. C 09-00514 JW
                                                                         10                    Plaintiff,                          PRELIMINARY INJUNCTION
                                                                                 v.
United States District Court




                                                                         11
                                                                               Richard Quintana, et al.,
                               For the Northern District of California




                                                                         12
                                                                                               Defendants.
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                                                                         14           Pursuant to the Court’s July 16, 2009 Order Granting Plaintiff’s Motion for Preliminary
                                                                         15   Injunction, it is hereby ORDERED that from the date of the July 16 Order until further instruction
                                                                         16   from the Court, Defendants, Richard Quintana and My-iButton, LLC, together with all of their
                                                                         17   officers, agents, servants, employees, representatives, attorneys and assigns, and all other persons,
                                                                         18   firms, or companies in active concert or participation with them, are preliminary enjoined from
                                                                         19   directly and indirectly:
                                                                         20           Using the mark “My-iButton,” “MY-IBUTTON,” and any other variations thereof (a) in
                                                                         21   connection with Defendants’ sales of portable or mobile electronic devices or “gizmos” with video
                                                                         22   and memory capabilities, and (b) in any print, broadcast, direct marketing, out-of-home advertising,
                                                                         23   internet advertising, or other advertising or marketing media related to Defendants’ sales, marketing
                                                                         24   and advertising of said products.
                                                                         25           Further, Defendants shall remove any and all advertising, videos, internet websites or other
                                                                         26   reviews within their control involved with or mention “My-iButton.”
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                                                                          1          Plaintiff shall post a $40,000 bond within ten (10) days from the date of this Order. The
                                                                          2   parties are responsible for distributing a copy of this Order of the Preliminary Injunction to any
                                                                          3   person in interest with them, so that all are aware of its terms.
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                                                                          5   Dated: July 16, 2009
                                                                                                                                         JAMES WARE
                                                                          6                                                              United States District Judge
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United States District Court




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                               For the Northern District of California




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                                                                          1   THIS IS TO CERTIFY THAT COPIES OF THIS ORDER HAVE BEEN DELIVERED TO:
                                                                          2   David P. Morales moraleslaw@sbcglobal.net
                                                                              Lita Monique Verrier lverrier@rmkb.com
                                                                          3   Michael J. Ioannou mioannou@rmkb.com
                                                                          4
                                                                          5   Dated: July 16, 2009                        Richard W. Wieking, Clerk
                                                                          6
                                                                                                                          By:   /s/ JW Chambers
                                                                          7                                                     Elizabeth Garcia
                                                                                                                                Courtroom Deputy
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United States District Court




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                               For the Northern District of California




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